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  IT IS ORDERED as set forth below:



  Date: June 4, 2020
                                                       _____________________________________
                                                                     Paul Baisier
                                                             U.S. Bankruptcy Court Judge

 _______________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

   IN RE:                                      ) CASE NO. 18-58728-PMB
                                               )
   RONALD JOSEPH ANTOINE, SR.,                 ) CHAPTER 13
                                               )
            Debtor.                            )
                                               )
                                               )
   U.S. BANK TRUST NATIONAL                    )
   ASSOCIATION, AS TRUSTEE OF                  )
   THE CABANA SERIES IV TRUST,                 ) CONTESTED MATTER
                                               )
            Movant,                            )
                                               )
   vs.                                         )
                                               )
   RONALD JOSEPH ANTOINE, SR., and             )
   MELISSA J. DAVEY, Trustee,                  )
                                               )
            Respondents.                       )
                                               )

            CONSENT ORDER DENYING MOTION FOR RELIEF FROM STAY
            U.S. Bank Trust National Association, as Trustee of the Cabana Series IV Trust,
   c/o SN Servicing Corporation, its servicing agent ("Movant"), filed a Motion for Relief
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   from Stay on May 4, 2020 (Doc. No. 62), ("Motion"), and the hearing on the Motion was

   scheduled for May 28, 2020 at 1:30 p.m. Movant and Debtor have consented to the terms

   herein without any opposition from the Chapter 13 Trustee, and good cause has been

   shown. Accordingly, the parties agree as follows:

                                              1.

          Debtor acknowledges being delinquent on the post-petition payments as set forth

   under the terms and conditions of the subject loan documents attached to the Motion and

   incorporated herein by reference ("Loan Documents"). The arrearage is in the amount of

   $12,795.16 and consists of the post-petition payments for August 2018 through and

   including July 2019 at $548.75 each, August 2019 through and including May 2020 at

   $531.21 each, $58.14 late charges, and $850.00 attorney’s fees, and $181.00 costs

   incurred by Movant in bringing the Motion, minus $191.08 in suspense.

                                              2.

          All payments made pursuant to this Consent Order shall have the subject loan

   number xx8223 written thereon and shall be remitted directly to Movant, c/o SN

   Servicing Corporation, P.O. Box 660820, Dallas, TX 75266-0820.              Beginning

   on June 1, 2020, Debtor shall cure the post-petition arrearage by remitting $405.00 in

   addition to each of the regular post-petition payments for June 2020 and July 2020,

   $1,100.00 in addition to each of the regular post-petition payments for August 2020
   through and including December 2020, $1,300.00 in addition to each of the regular post-

   petition payments for January 2021 through and including April 2021, and $1,285.16 in
   addition to the regular post-petition payment for May 2021.

                                              3.
          Debtor shall make all payments under this Consent Order in strict compliance

   with the terms herein and shall make the June 2020 through and including

   May 2021 post-petition payments in strict compliance with the terms of the Loan

   Documents.
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                                               4.

          In the event of a default on any of the payments set forth in Paragraphs Two or

   Three above, Movant or Movant’s counsel shall give written notice, by first class mail to

   Debtor and via email to Debtor's counsel, of Debtor's default and right to cure the default

   within ten (10) days from Debtor's receipt of the written notice.          Debtor shall be

   presumed to have received the written notice on the fifth (5th) calendar day following

   mailing of said notice by Movant or Movant’s counsel provided that said notice was

   properly addressed and that sufficient postage was affixed thereto. Movant shall be

   entitled to attorney’s fees of $85.00 per default notice, plus mailing costs. Upon Debtor's

   failure to cure within the ten-day period, Movant or Movant’s counsel may file an

   affidavit of default and a delinquency motion and serve both upon Debtor, Debtor's

   counsel, and the Chapter 13 Trustee. This Court may then terminate the automatic stay as

   to Movant without further notice or hearing and order that:

          a) The Motion is granted;
          b) The stay set forth in FBR 4001(a)(3) is waived, and the automatic stay
          is terminated as to Movant so that it may pursue and enforce under non-
          bankruptcy law any and all rights it has in and to that certain real property,
          as more particularly described in the Loan Documents, commonly known
          as 4809 Martins Crossing Rd., Stone Mountain, GA 30088 (“Real
          Property"), including, but not limited to, advertising and conducting a
          foreclosure sale, seeking confirmation of the sale in order to pursue any
          deficiency, and seeking possession of the Real Property. However,
          Movant and/or its successors and assigns may offer, provide, and enter
          into a potential forbearance agreement, loan modification, refinance
          agreement, short sale, deed in lieu of foreclosure, or any other type of loan
          workout/loss mitigation agreement. Movant may contact Debtor via
          telephone or written correspondence to offer any such agreements; and
          c) The Chapter 13 Trustee shall cease funding Movant's pre-petition claim.
          Upon completion of any foreclosure sale by Movant during the pendency
          of this case, all proceeds exceeding Movant’s lawful debt that would
          otherwise be payable to the Debtor shall be promptly remitted to the
          Chapter 13 Trustee. Movant is granted leave to seek allowance of a
          deficiency claim, if appropriate, but Debtor and the Chapter 13 Trustee
          shall be entitled to object to said deficiency claim.
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          It is hereby ORDERED that the agreement as described herein is approved, and
   that the Motion is denied without prejudice, subject to the terms of the agreement.
                                    [END OF DOCUMENT]

   PREPARED BY AND CONSENTED TO:
   Attorney for Movant

          /s/
   Marc E. Ripps
   Georgia Bar No. 606515

   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com


   CONSENT TO:
   Attorney for Debtor

          /s/
   Howard P. Slomka               (By Marc E. Ripps, Esq. with express permission)
   Georgia Bar No. 652875

   Slipakoff & Slomka, PC
   Suite 2100
   3350 Riverwood Parkway
   Atlanta, GA 30339
   (404) 800-4001
   Email: hs@atl.law


   NO OPPOSITION:
   Chapter 13 Trustee

          /s/
   Kelsey A. Makeever           (By Marc E. Ripps, Esq. with express permission)
   Attorney for the Chapter 13 Trustee
   Georgia Bar No. 371499

   Suite 200
   260 Peachtree Street
   Atlanta, GA 30303
   (678) 510-1444
   Email: kmakeever@13trusteeatlanta.com
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                    DISTRIBUTION LIST ON CONSENT ORDER

          Pursuant to LR 9013-3(c) NDGa., the Consent Order shall be served upon the
   following parties in interest:

         Marc E. Ripps, Esq.
         P.O. Box 923533
         Norcross, Georgia 30010-3533

         Melissa J. Davey, Esq.
         Standing Ch 13 Trustee
         Suite 200
         260 Peachtree Street, NW
         Atlanta, GA 30303

         Howard P. Slomka, Esq.
         Slipakoff & Slomka, PC
         Suite 2100
         3350 Riverwood Parkway
         Atlanta, GA 30339

         Ronald Joseph Antoine, Sr.
         4809 Martins Crossing Rd.
         Stone Mountain, GA 30088
